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 1 JERRY Y. FONG, ESQ. (SBN 99673)
   THE LAW OFFICE OF JERRY FONG
 2 885 N. SAN ANTONIO ROAD, SUITE D
   LOS ALTOS, CA 94022
 3 650/559-1985
   650/322-6779 fax
 4 jf@jerryfong.com
 5   Attorney for Defendant HECTOR ESTRADA CERVANTES
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 7
                              UNITED STATES DISTRICT COURT
 8
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                        SAN JOSE DIVISION
10
11   UNITED STATES OF AMERICA,                   )       CASE NO: 5:20- MJ- 70278
                                                 )
12          Plaintiff,                           )       DEFENDANT HECTOR ESTRADA
                                                 )       CERVANTES’ APPLICATION
13   vs.                                         )       FOR COURT ORDER TO DISMISS
                                                 )       JERRY FONG AS HIS COUNSEL &
14 JUAN LUIS CONTRERAS                           )       TO APPOINT NEW COUNSEL TO
   RODRIGUEZ and HECTOR                          )       REPRESENT HIM
15 ESTRADA CERVANTES,                            )
                                                 )       Date:       September 23, 2021
16          Defendants.                          )       Time:       1:00 p.m.
                                                 )       Mag. Judge: Hon. Nathanael Cousins
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            I, Jerry Fong, declare:
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            1.     I am an attorney licensed to practice law before this Court and am the
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     attorney of record for Defendant Hector Cervantes, through the Court’s appointment
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     made pursuant to the Criminal Justice Act.
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            2.     I make this declaration as the application (made at Mr. Cervantes’
23
     request) for a court order dismissing or relieving me as the attorney for Mr. Cervantes
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     and appointing a new attorney to represent him in this case.
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            3.     Currently, Mr. Cervantes is out of custody and residing at a half-way
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     house in San Francisco, CA, and subject to pretrial release conditions.
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            4.     The case has not yet been indicted. I am informed and believe that the
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                                                     1
      HECTOR CERVANTES’ APPLICATION FOR DISMISSAL OF PRESENT COUNSEL & THE APPOINTMENT OF NEW COUNSEL
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 1   Government intends to seek an indictment against Mr. Cervantes shortly.
 2          5.     Without disclosing the contents of my conversations with Mr. Cervantes,
 3   I can advise the Court that Mr. Cervantes wishes to have his case placed on the
 4   Court’s calendar so that he can seek the Court’s permission to dismiss or relieve me
 5   as his counsel and to have the Court appoint new counsel to represent him moving
 6   forward.
 7          6.     I understand that Mr. Cervantes will address the Court to make known
 8   his contentions, bases for his contentions, and his requests. I anticipate that this will
 9   be conducted in a closed courtroom (on an in camera basis) so that the confidential
10   nature of Mr. Cervantes’ statements will be protected as such and not subject to
11   disclosure to the other parties or the general public.
12          7.     Mr. Cervantes will need the assistance of a court certified Spanish
13   interpreter at the hearing.
14          8.     I have advised AUSA Sloan Heffron of this development and the
15   anticipated application/motion.
16          9.     Accordingly, I respectfully request that the Court conduct an in camera
17   hearing to permit Mr. Cervantes to set forth his reasons for seeking the relief described
18   above.
19          I declare under the penalty of perjury that the foregoing is true and correct to
20   the best of my knowledge and belief. Executed on September 20, 2021, in Los Altos,
21   CA.
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23
24                                                   /S/
                                                 JERRY Y. FONG
25                                               Defendant HECTOR CERVANTES
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      HECTOR CERVANTES’ APPLICATION FOR DISMISSAL OF PRESENT COUNSEL & THE APPOINTMENT OF NEW COUNSEL
